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Form CGFCRD3C (01/14/23)

                                 United States Bankruptcy Court
                                         Southern District of Florida
                                          www.flsb.uscourts.gov
                                                                                     Case Number: 22−17842−PDR
                                                                                     Chapter: 11

In re:
 Vital Pharmaceuticals, Inc.
 dba VPX Sports, dba Bang Energy, dba VPX/Redline, dba Quash Life Lift, dba
 Redline
 1600 N. Park Dr.
 Weston, FL 33326
 EIN: 65−0668430


                                             NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Peter D. Russin to consider the
following:

Motion to Withdraw as Attorney of Record filed by Mayer Brown LLP Filed by Interested Party John
H. Owoc a/k/a Jack H. Owoc (Attachments: # 1 Proposed Order) (Feldman, Jonathan) (2587)

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is ten minutes. The hearing will be held:

     Date:         April 24, 2024
     Time:         10:00 AM
     Location:     U.S. Courthouse, 299 E Broward Blvd, Courtroom 301, Ft Lauderdale, FL 33301

2.   The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

3.   Information on requirements and procedures for remote attendance at the hearing may be found on
     the presiding judge's webpage on the Court's website: www.flsb.uscourts.gov. PLEASE NOTE: No
     person may record the proceedings from any location by any means. The audio recording maintained
     by the Court will be the sole basis for creation of a transcript that constitutes the official record of the
     hearing.

4.   PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
     Electronic devices, including but not limited to cameras, cellular phones (including those with
     cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios,
     tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court.
     These restrictions (except for cameras not integrated into a cell phone device) do not apply to
     attorneys with a valid Florida Bar identification card, attorneys who have been authorized to appear by
     pro hac vice order and witnesses subpoenaed to appear in a specific case. No one is permitted to
     bring a camera or other prohibited electronic device into a federal courthouse facility except with a
     written order signed by a judge and verified by the United States Marshals Service. See Local Rule
     5072−2.

Dated: 4/9/24                                                CLERK OF COURT
                                                             By: Melva Weldon
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                           Courtroom Deputy
